Case 17-12560-BLS   Doc 4587-4   Filed 02/11/21   Page 1 of 31




               EXHIBIT D
                         Case 17-12560-BLS                                        Doc 4587-4                             Filed 02/11/21                                   Page 2 of 31
                                   Case 20-10213                                  Doc 1                  Filed 01/07/20                                 Page 1 of 4


    Fill in this information to identify the case:

     United States Bankruptcy Court for the:

                               District of      Maryland
                                             (Stats)
                                                                                            11
     Case number (if known).                                            . Chapter                                                                                                                             □ Check if this is an
                                                                                                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                                                                      04/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1. Debtor’s name                                   9 Jewels , LLC




2. Ail other names debtor used
       in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names




3.     Debtor's federal Employer
                                                   4___ 7-3                   4            7 8 0          9
       Identification Number (EIN)



4      Debtor’s address                           Principal place of business                                                                        Mailing address, if different from principal place
                                                                                                                                                     of business

                                                       308 N Howard Street
                                                  Number              Street                                                                         Number              Street



                                                                                                                                                     P.O. Box

                                                   Baltimore                                     MD                     21201
                                                  City                                               State            ZIP Code                       City                                             State                  ZIP Code

                                                                                                                                                     Location of principal assets, if different from
                                                                                                                                                     principal place of business
                                                    Baltimore Crtv
                                                  County
                                                                                                                                                     Number              Street




                                                                                                                                                     City                                              State                 ZIP Code




5. Debtor’s website (URL)


                                                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
       Type of debtor
                                                  □ Partnership (excluding LLP)

                                                  □ Other. Specify:................... ...................................................................................................................................




Official Form 201                                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             page 1
                       Case 17-12560-BLS                      Doc 4587-4                 Filed 02/11/21            Page 3 of 31

                                   Case 20-10213                Doc 1          Filed 01/07/20                Page 2 of 4


Dsbtor              9 Jewels tlC                                                                     Case number


                                         A. Check one
7.    Describe debtor's business
                                         Q Health Care Business (as defined in 11 U.S.C. § 101 (27AJ)

                                         □ Single Asset Real Estate (as defined in 11 U.S.C, § 101(518))
                                         Q Railroad (as defined in 11 U.S.C. § 101(44))

                                         □ Stockbroker (as defined in 11 U.S.C. § 101(53A»

                                         □ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         □ clearing Bank (as satined in        i   i U.S.C. § 731(3))

                                         3 None of the above



                                         B. Check all that apply

                                         Q Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         □ Investment company. Including hedge fund or pooled investment vehicle (as defined in 15 U S.C
                                            § 80a-3)
                                         □ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))



                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http:PWvvw.uscourts.qov/four-digit-natiooal-3Ssociaiion-naics-codes,
                                              3    5     13


8      Under which chapter of the        Check one.
       Bankruptcy Code is the
                                         □ Chapter 7
       debtor filing?
                                         □ Chapter 9

                                         □ Chapter 11 Check all that apply.
                                                              Gf- Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                 4/01/22 and every 3 years after that).
                                                              ef The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return or if all of these
                                                                 documents do not exist, follow the procedure in 11 U S C. § 1118(1)(B),

                                                              □ A plan is being filed with this petition

                                                              3 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              □ The debtor is required to file periodic reports (for example, 10K and 10G) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1034 File the Attachment to voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201 A) with this form.

                                                              Q The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2
                                          Q Chapter 12


 9. Were prior bankruptcy cases           □ No
    filed by or against the debtor
                                          □ Yes,   District                                   When                 Case number
    within the last 8 years?
                                                                                                     MM/ DD/YYYY
       If more than 2 cases, attach a
                                                   District                                   When                 Case number
       separate list.
                                                                                                     MM/ DD/YYYY


     10. Are any bankruptcy cases         □ NO
       pending or being filed by a
                                          □ Yes.   Debtor ____________                                             Relationship __________________
       business partner or an
       affiliate of the debtor?                        District ___________                                        When          __________________
        list all cases If more than 1,                                                                                           MM / DD / YYYY
        attach a separate list.                        Case number. If known


      Official Form 201                        Voluntary Petition for Non-individuals Filing for Bankruptcy                                  page 2
                      Case 17-12560-BLS                Doc 4587-4                Filed 02/11/21                   Page 4 of 31
                                Case 20-10213            Doc 1          Filed 01/07/20              Page 3 of 4


Debtor          9 Jewles. LLC                                                             Case number i:fkno»mm
             Name




11. Why is the case filed in this    Check all that apply
    district?
                                     □ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                        district.

                                     □ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



12. Does the debtor own or have      □ No
   possession of any real            Q Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                      Why does the property need immediate attention?            (Check all that apply )
   attention?
                                              □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

                                                  What is the hazard?

                                              U   It needs to be physically secured or protected from the weather.

                                              □ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                  assets or other options).

                                              □ Other




                                              Where is the property?________________
                                                                        Number          Street




                                                                        City                                                State    ZIP Code



                                              is the property insured?
                                              □ No

                                              U Yes. Insurance agency_________________________________________________ _


                                                       Contact name_______________________________________________________________

                                                       Phone            __________________




           Statistical and administrative information



13. Debtor’s estimation of           Check one.
    available funds                  □ Funds will be available for distribution to unsecured creditors,
                                     3 After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                     @1-49                            □ 1,000-5,000                                □ 25,001-50,000
14. Estimated number of              □ 50-99                          □ 5,001-10,000                               □ 50,001-100,000
    creditors                        □ 100-199                        □ 10,001-25.000                              □ More than 100,000
                                     □ 200-999


                                     □ SO-S50.000
                                                                      §P$1,000,001-S10 million                     □ $500,000,001-51 billion
15, Estimated assets                 □ S50.001-$100,000               □ $10,000,001-550 million                    □ $1,000,000,001-510 billion
                                     □ $100,001-8500.000              □ $50,000,001-5100 million                   □ $10,000,000,001450 billion
                                     □ S500.001-S1 million            □ S100,000,001-5500 million                  □ More than 550 billion




  Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
                   Case 17-12560-BLS                       Doc 4587-4              Filed 02/11/21                    Page 5 of 31

                                 Case 20-10213                Doc 1        Filed 01/07/20               Page 4 of 4


Debtor           9 Jewles, LLC                                                                Case number (tbmmi


                                        □ 30-350,000                     □ $1,000,001-810 million                      □ $500,000,00141 Billion
16. Estimated liabilities               □ $50,001-3100,000               □ $10,000,001450 million                      □ S1,000.000,001-$10 billion
                                        □ 5100,0014500,000               □ $50,000,0014100 million                     □ $10,000,000,001-550 billion
                                        □ 3500,001-$1 million            □ 5100,000,0014500 million                    □ More than $50 billion




           Request for Relief, Declaration, and Signatures


WARNING    -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C, §§ 152, 1341, 1519. and 3571.



17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor

                                             I have been authorized to file this petition on behalf of the debtor.


                                         a   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.



                                         I declare under penalty of perjury that the foregoing is true and correct.




                                                                                                          Jean M Aghodiopbe
                                                                                                        Printed name




 18, Signature of attorney




                                               James Sweeting III_____________________________________________________________
                                             Printed name
                                                Law Offices or James Sweeting Hi, LLC
                                             Firm name
                                                306 N Howard Street
                                             Number        Street
                                              Baltimore^                                                        MD             21201
                                             City"                                                          State            ZIP Code


                                               443 2S7 7534                                                     james®sweetinglaw,com
                                             Contact phone                                                   Email address



                                               20573                                                          Maryland
                                             Bar number                                                      State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                            Case 17-12560-BLS                           Doc 4587-4                               Filed 02/11/21                          Page 6 of 31
                                     Case 20-10213                    Doc 1-1                     Filed 01/07/20                                Page 1 of 10


Fill in this information to identify your case and this filing:


Debtor 1           9 Jewels LLC

Debtor 2________________________________________
{Spouse, if filing) Firs;       Middia Namfi


United States Bankruptcy Court for the District of Maryland

Case number ________________________________________
                                                                                                                                                                           □ Check if this is an
                                                                                                                                                                             amended filing

    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                                                12/15

    In each category, separately list and describe items. List an asset only once. If an asset fits In more than one category, list the asset in the
    category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
    responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write your name and case number (if known). Answer every question.

Part 1s       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      Q No, Go to Part 2.
      50 Yes. Where is the property?
                                                                   What is the property?                   Check ail that apply
                                                                                                                                                     Do not deduct secured claims or exemptions Put
                                                                   □ Single-family home                                                              the amount of any secured claims on Schedule O:
       11    325 5th Avenue                                        □ Duplex or multi-unit building                                                   Creditors Who Have Claims Secured by Properly,
            Street address, if available. or other description
                                                                   Sf Condominium or cooperative
                                                                                                                                                     Current value of the Current value of the
                                                                   Ll Manufactured or mobile home                                                    entire property?     portion you own?
             Apartment 11C
                                                                   □ Land                                                                            S   2,100,000.00         s 2,100.000.00
                                                                   au Investment property
             New York                        NY       10016        [3 Ttmeshare                                                                      Describe the nature of your ownership
            City                            State      ZIP Code
                                                                   —J Other......................................................... .............   interest (such as fee simple, tenancy by
                                                                                                                                                     the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check, one.
                                                                                                                                                     Fee Simple
                                                                   H Debtor 1 only
             Manhattan
            County                                                 Q Debtor 2 only
                                                                   [_] Debtor 1 and Debtor 2 only                                                    —J Check if this is community property
                                                                   O At least one of the debtors and another                                             (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:__________________________
      If you own or have more than one, list here
                                                                  What is the property? Check all that apply
                                                                                                                                                     Do not deduct secured claims or exemptions. Put
                                                                  _) Single-family home                                                              the amount of any secured claims on Schedule D:
       12    306 - 310 N, Howard Street                           lad Duplex or multi-unit building                                                  Creditors Who Have Claims Secured by Property,
            Street address, if available, or other description
                                                                  Q Condominium or cooperative
                                                                                                                                                     Current value of the     Current value of the
                                                                  □ Manufactured or mobile home                                                      entire property?         portion you own?
                                                                  Q Land                                                                             s    1,650,000.00        $     1,650,000.00
                                                                  US Investment property
             Baltimore                       Md       21201       Q Timeshare                                                                        Describe the nature of your ownership
            City                            State      ZIP Code                                                                                      interest (such as fee simple, tenancy by
                                                                  □ Other___________________________________
                                                                                                                                                     the entireties, or a life estate), if known.
                                                                  Who has an Interest In the property?                              Chock one

                                                                      Debtor 1 only
             Baltimore City
                                                                  Q Debtor 2 only
            County
                                                                  □ Debtor 1 and Debtor 2 only                                                       —1 Check if this is community property
                                                                  Q At least one of the debtors and another                                              (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:_________________________________



Official Form 106A/B                                              Schedule A/B: Property                                                                                               page 1
                         Case 17-12560-BLS                               Doc 4587-4                    Filed 02/11/21                     Page 7 of 31

                                     Case 20-10213                        Doc 1-1             Filed 01/07/20                    Page 2 of 10

Debtor 1            9 Jewels LLC                                                                                    Case number {<n<nowrrL
                     P*s? Na!«8          Name              Last Nam«


                                                                       What is the property?        Check all that apply                 Do not deduct secured claims or exemptions. Put
                                                                       □ Single-family home                                              the amount of any secured claims on Schedule D:
                                                                                                                                         Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description        Q Duplex or multi-unit building
                                                                       □ Condominium or cooperative                                      Current value of the Current value of the
                                                                       □ Manufactured or mobile home
                                                                                                                                         entire property?     portion you own?
                                                                       LJ Land                                                           S___________________        $........... ...........................

                                                                       G    Investment property
             City                             State      ZIP Code      G    Timeshare
                                                                                                                                         Describe the nature of your ownership
                                                                                                                                         interest (such as fee simple, tenancy by
                                                                       G    Other___________________________________                     the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one
                                                                       Q Debtor 1 only
             County
                                                                       G Debtor 2 only
                                                                       G Debtor 1 and Debtor 2 only                                      G Check if this is community property
                                                                       □ At least one of the debtors and another                              (sea instructions)


                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:__________________________


2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                   s         3,750,000.00
     you have attached for Part 1. Write that number here................................................................................. .................... ->




Part 2:        Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not?                                  Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     iad No

     □ Yes


      3.1,    Maks,                                                    Who has an Interest in the property? Check one.                    Do not deduct secured claims or exemptions. Put
                                                                                                                                          the amount of any secured claims on Schedule D.
              Model;
                                                                        G Debtor 1 only
                                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                        Q Debtor 2 only
              Year:
                                                                        G Debtor 1 and Debtor 2 only                                      Current value of the        Current value of the
              Approximate mileage:                                      □ At leas!: one of the debtors and another                        entire property?            portion you own?

              Other information:
                                                                        Q Check if this Is community property               (see
                                                                            instructions)



     It you own or have more than one. desenbe here:


      3,2.    Make:                                                     Who has an interest in the property? Check one                    Do not deduct secured claims or exemptions. Put
                                                                        G   Debtor 1 only                                                 the amount of any secured claims on Schedule D:
              Model                                                                                                                       Creditors Who Have Claims Secured by Property.
                                                                        □ Debtor 2 only
              Year:                                                                                                                       Current value of the         Current value of the
                                                                        G   Debtor 1 and Debtor 2 only
              Approximate mileage:
                                                                                                                                          entire property?             portion you own?
                                                                        G   At least one of the debtors and another
              Other information;
                                                                        G Check if this is community property               (see
                                                                            instructions)




 Official Form 106A/B                                                    Schedule A/B: Property                                                                                     page 2
                                  Case 17-12560-BLS                  Doc 4587-4             Filed 02/11/21                   Page 8 of 31

                                       Case 20-10213                Doc 1-1         Filed 01/07/20                 Page 3 of 10

Debtor 1             9    Jewels LLC________________                                                 Case number wurmvr::.
                      Prat Name            eaa>«     uttNar.a




      33.     Make'
                                                                Who has an interest in the property? Check one          Do not deduct secured claims or exemptions, Put
                                                                Q Debtor 1 only                                         the amount of any secured claims on Schedule D;
              Model:                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                G Debtor 2 only
              Year:
                                                                G Debtor 1 and Debtor 2 only                           Current value of the       Current value of the
                                                                                                                       entire property?           portion you own?
              Approximate mileage'                              G At least one of the debtors and another
              Other information'
                                                                                                                        S___________________      S.
                                                                G Check if this is community property (see
                                                                    instructions)



      3.4.    Make
                                                                Who has an interest in the property? Check one         Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D
              Model.
                                                                G Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                                                G Debtor 2 only
              Year                                                                                                      Current value of the      Current value of the
                                                                G Debtor 1 and Debtor 2 only
                                                                                                                        entire property?          portion you own?
              Approximate mileage:                              G At least one of the debtors and another
              Other information:
                                                                                                                        S__________________       S.
                                                                G Chock if this is community property (see
                                                                    instructions)




i     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

             No
      Q Yes



      4.1         Make'
                                                                Who has an interest in the property?    Check one       Do not deduct secured claims or exemptions. Put
                                                                                                                        the amount of any secured claims on Schedule D:
                  Model.
                                                                G Debtor 1 only                                         Creditors Who Have Claims Secured by Properly.
                                                                G Debtor 2 only
              Year          ________
                                                                G Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                  Other information:                            G At least one of the debtors and another               entire property?          portion you own?

                                                                G Check if this is community property (see
                                                                    instructions)




      If you own or have more than one, list here.

      4.2         Make:     _____________________
                                                                Who has an interest in the property? Check one          Do not deduct secured ctaims or exemptions. Put
                                                                □ Debtor 1 only                                         the amount of any secured claims on Schedule D:
                  Model:    _____________________                                                                       Creditors Who Have Claims Secured by Property.
                                                                G Debtor 2 only
              Year.         ____________                                                                                Current value of the      Current value of the
                                                                Q Debtor 1 and Debtor 2 only
                  Other information:
                                                                                                                        entire property?          portion you own?
                                                                G At least one of the debtors and another
                                                                                                                        S___________________ $.
                                                                G Check if this is community property       (see
                                                                    instructions)




5 Add the dollar value of the portion you own for all of your entries from Part 2, Including any entries for pages                                                 0.00
  you have attached for Part 2. Write that number here




    Official Form 106A/B                                         Schedule A(B: Property                                                                   page 3
                               Case 17-12560-BLS                        Doc 4587-4           Filed 02/11/21                 Page 9 of 31

                                                Case 20-10213           Doc 1-1        Filed 01/07/20            Page 4 of 10

Debtor 1            9   Jewels LLC________________                                                    Case number wknown)
                      Firs! Nam*            MkjcSIs   Hms   last Mama




Part 3:           Describe Your Personal and Household Items

                                                                                                                                     Current value of the
Do you own or have any legal or equitable Interest in any of the following items?                                                    portion you own?
                                                                                                                                     Do not deduct secured claims
                                                                                                                                     or exemptions.

6        Household goods and furnishings
         Examples: Major appliances, furniture, linens, china, kitchenware
         2 No
         □ Yes Describe..........
                                                                                                                                       S.


7, Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices Including cell phones, cameras, media players, games
         Z! No
         □ Yes. Describe...........
                                                                                                                                       $.


6 Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art opjects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
         SI No
         □ Yes. Describe...........
                                                                                                                                       S.


9. Equipment for sports and hobbles
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis: canoes
                   and kayaks; carpentry tools; musical instruments
         y] No
         Cl   Yes. Describe .        ....


10 Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         2 No
         □ Yes, Describe...........


11 Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
         G No
         G    Yes, Describe...........                                                                                                 5



    12   Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gams,
                   gold, silver
          *2 No
         □ Yes. Describe...........                                                                                                    5.


    13 Non-farm animals
         Examples: Dogs, cats, birds, horses

          2 No
          G Yes, Describe............                                                                                                  5


    14 Any other personal and household items you did not already list, including any health aids you did not list
          2 No
          G Yes. Give specific
                                                                                                                                       S.
              Information................

    15 Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                            0.00
          for Part 3. Write that number here                                                      ..........



     Official Form 106A/B                                               Schedule A/B: Property                                                      page 4
                                     Case 17-12560-BLS                                                      Doc 4587-4                                  Filed 02/11/21                             Page 10 of 31
                                                      Case 20-10213                                        Doc 1-1                        Filed 01/07/20                                  Page 5 of 10

                                                                                                                                                                         Case number (jrfewtwi.
                         Find Nans                Mlcdls Mama                        Last N«m»




Part 4:            Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                                 Current value of the
                                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                                            Do not deduct secured claims
                                                                                                                                                                                                                            or exemptions


16   Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     m     no

     'Ll Ves............................................................................................................................................. .............................     cash    .....................    $




17   Deposits of money
     Examples: Checking, savings, or other financial accounts: certificates of deposit: shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.

           No
     □ Yes........................                                                                        Institution name:



                                                    17.1. Checking account:......................................................................................................................                            $_

                                                    17.2. Checking account:                                                                                                                                                  $

                                                    17,3 Savings account:                                                                                                                                                    5

                                                    17.4. Savings account:____________________________________                                                                                                               5

                                                    17.5, Certificates of deposit:________________________________________________________________                                                                           j
                                                    17.6, Other financial account:

                                                    17.7, Other financial account:

                                                    17.8, Other financial account:

                                                   17 9 Other financial account




18    Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market, accounts
     ill No

     3 Yes ...                                     Institution or issuer name:


                                                                                                                                                                                                                             £

                                                                                                                                                                                                                             S.

                                                                                                                                                                                                                             $,




19    Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture
     (u No                                         Name of entity;                                                                                                                          % of ownership
     Q Yes, Give specific                                                                                                                                                                   0%                               $.
           information about
           them .                                  _____________                                                                                                                            0%                               5.
                                                                                                                                                                                            0%                               S.




Official Form 106A/B                                                                                     Schedule AIB: Property                                                                                                           page S
                               Case 17-12560-BLS                                               Doc 4587-4                                   Filed 02/11/21                                        Page 11 of 31
                                               Case 20-10213                                    Doc 1-1                         Filed 01/07/20                                      Page 6 of 10

Dabtor 1          9 Jewels LLC________________                                                                                                                 Case number
                     F-fSt Na-nss         MisfcJte Nam*                  '-««Nam#




20     Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders
     Non-negotiabie instruments are those you cannot transfer to someone by Signing or delivering them.

      55 No
      Q Yes. Give specific                 Issuer name:
         information about
         them ..................           ............................................. —— --------------------------------------------------------------------------------------------------------
                                           -------------------------------------------------------------------------------------------------------------------------------------------------------- S.
                                           ----------- _____----------------------------------------------------------------------------------------------------------------------------                                               S



21     Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

      21 No

      □ Yes, List each
          account separately.               Type of account:                  institution name:

                                            4011k) or similar plan            ______________________________________________________________________                                                                                   5-

                                            Pension plan:                     .......................................................... ................................... ...........................................               3

                                            IRA-                                                                                                                                                                                       $.

                                            Retirement account:               __________________________________________________________ __________________ $,

                                            Keogh                             .............................................. ............. ..... .......................... ...............................................        S

                                            Additional account,__________________________________________                                                                                                                              S.

                                            Additional account:




22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas. water), telecommunications
      companies, or others

      3 No

      □ Yes....................                                         Institution name or individual;

                                                                                                                                                                                                                                       $.

                                             Gas                        ________
                                                                                                                                                                                                                                       s,
                                             Heating oil.
                                                                                                                                                                                                                                       $.
                                             Security deposit on rental unit;
                                                                                                                                                                                                                                       s.
                                             Prepaid rent               .................
                                                                                                                                                                                                                                       s.
                                             Telephone;                 ________
                                                                                                                                                                                                                                       s.
                                            -Water--------------               -- -                                                                                                                                                    s
                                             Rented furniture.          ________
                                                                                                                                                                                                                                       s.
                                             Other:                     ....... .........
                                                                                                                                                                                                                                       S.



 23   Annuities       (A contract for a periodic payment of money to you, either for life or for a number of years)

       21 No

       □ Yes........... ...............      Issuer name and description:

                                              ______________________________________________________ $.
                                             -------------------------------------------------------------------------------------------                                                                                      $_


                                             ______________________________________________________ $

     Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                                        page 6
                                Case 17-12560-BLS                              Doc 4587-4              Filed 02/11/21                      Page 12 of 31
                                                Case 20-10213                  Doc 1-1         Filed 01/07/20                Page 7 of 10

 Debtor t       9 Jewels LLC________________                                                                    Case number (if fcPtwn),
                  Firs! Harm;             MijjtJte Nona         Las’. Name




24, Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1),
     nil No
     ^ Yes     ................................ '   Institution name and description Separately file the records of any interests, 11 U.S.C. § 521(c):


                                                                                                                                                              $

                                                                                                                                                              $.

                                                                                                                                                              $.


25. Trusts, equitable or future interests in property (other than anything listed In line 1), and rights or powers
    exercisable for your benefit
     A   No
     Q Yes, Give specific
         information about them,                                                                                                                             S


26 Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     id No

     □ Yes. Give specific
         information about them.                                                                                                                             S



27 Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

     21 No

     Q Yes, Give specific
         information about them....                                                                                                                          $_______________



Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

2d, Tax refunds owed to you
     A   No
     Q Yes, Give specific information
                                                                                                                                  Federai;              $_
              about them, including whether
              you already filed the returns                                                                                       State                 $_
              and the tax years........................
                                                                                                                                  Local:                $



29    Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     A No

     □ Yes Give specific information............
                                                                                                                                 Alimony:                    $

                                                                                                                                 Maintenance                 $

                                                                                                                                 Support.                    $_
                                                                                                                                 Divorce settlement.          $

                                                                                                                                 Property settlement:        $.

30    Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
               Social Security benefits; unpaid loans you made to someone else
     Q No
     A Yes. Give specific information
                                                                Al Jawahara Al-Sabah                                                                                     234,000.00


Official Form 108A/B                                                         Schedule A/B: Property                                                                     page   7
                           Case 17-12560-BLS                         Doc 4587-4                Filed 02/11/21                  Page 13 of 31

                                     Case 20-10213                    Doc 1-1           Filed 01/07/20                 Page 8 of 10

DeBtor,           9 Jewels LLC___________ __                                                               Case number turmoil
                   First          MidsJS® Nam«         Last H&tr,s




31     interests in insurance policies
      Examples; Health, disability, or iife insurance; health savings account (HSA); credit, homeowners, or renter's insurance

            No
      O Yes. Name the insurance company                company name:                                          Beneficiary:
                                                                                                                                                           Surrender or refund value
                 of each policy and list its value .

                                                                                                                                                           $____________
                                                                                                                                                           S____________________

                                                                                                                                                           $____________
32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
      property because someone has died.
      □ No
      Q Yes. Give specific information..............
                                                                                                                                                           S


33 Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
      □ No
      23 Yes. Describe each claim .
                                                       T. Brooks Inc - Faulty workmanship Property Rehabilitation                                                      500,000.00
34 Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
      21 No
      □ Yes, Describe each claim.
                                                       Urban Built LLC Faulty workmanship Property Rehabilitation                                                     100,000 00


36 Any financial assets you did not already list

      21 No
       □ Yes. Give specific information..........
                                                                                                                                                           S.


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here                                                                                                                             834,000.00



Part 5:           Describe Any Business-Related Property You Own or Have an Interest in. List any real estate in Part 1.

37 Do you own or have any legal or equitable interest in any business-related property?
       2! No. Go to Par! 8.
       □ Yes, Go to line 38.

                                                                                                                                                      Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                      or exemptions

38 Accounts receivable or commissions you already earned
       23 No
       □ Yea, Describe       .
                                                                                                                                                      $.

 39, Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       23   no

       □ Yes. Describe ,




     Official Form 106A/B                                            Schedule A/B- Property                                                                            page 8
                                   Case 17-12560-BLS                                                      Doc 4587-4                                   Filed 02/11/21                                        Page 14 of 31
                                                 Case 20-10213                                          Doc 1-1                         Filed 01/07/20                                      Page 9 of 10

Debtor 1           9    Jewels LLC________________                                                                                                                     Casa number (,r«»*).
                       Fas* Mama                    Name                        last   Nsm»



40 Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

     3 No

     □ Yes. Describe......




41. Inventory
     3 No
     Q Yes, Describe ....                                                                                                                                                                                                            S.




42    Interests in partnerships or Joint ventures
     3 No
     Q Yes. Describe....                  Name of entity:                                                                                                                                             % cf ownership:

                                          ___________________________________________                                                                                                                 _____ %                        $
                                           ________________________________________________________________________________                                                                                                      %   S.

                                          ___________________________________________                                                                                                                 _____ %                        $.


43   Customer lists, mailing lists, or other compilations
     3 No
     Q Yes Do your lists Include personally identifiable information (as defined in 11 U.S.C. § 101(41 A))?

                  3 No
                 G Yes, Describe..., „
                                                                                                                                                                                                                                         S.


44   Any business-related property you did not already list
     3 No
     G   Yes. Give specific                                                                                                                                                                                                              %
         information------ ---------------------------------------------—......-.......-......... -..... .............................................................................................. *-
                                          ______________________ ________ __________________________________________________________                                                                                                     S_

                                          ....................................................................................                                                                                                            S_

                                          ....................................... ............................................................................................................................................            s.

                                          ....................................................................................... ................... .                                                                                  $
                                          .................................... ................. ..................................................... $_
45   Add the dollar value of allof your entries from Part 5, including any entries for pages you have attached                                                                                                                            $        _________ Q.OO
     for Part 5. Write that number here



                  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.


          I
Part 6
                  If you own or have an interest in farmland, list it in Part 1.



46   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
     3 No Go to Part 7
     □ Yes. Go to line 47.
                                                                                                                                                                                                                                      Current value of the
                                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                                      or exemptions.
47    Farm animals
     Examples: Livestock, poultry, farm-raised fish
     3 No
     G   Yes..........................


                                                                                                                                                                                                                                              5.



 Official Form 106A/B                                                                               Schedule A/B: Property                                                                                                                             page 9
                        Case 17-12560-BLS                        Doc 4587-4           Filed 02/11/21             Page 15 of 31

                                    Case 20-10213                Doc 1-1          Filed 01/07/20         Page 10 of 10

Debtor 1        9 Jewels LLC                                                                     Cass number
                  First Nam*          Name           Last Nams




43 Crops—either growing or harvested
   id No

   □ Yes. Give specific
        information,.............                                                                                                $

49 Farm and fishing equipment, implements, machinery, fixtures, and toots of trade
   id No

   □ Yes.......................

                                                                                                                                 $.

50. Farm and fishing supplies, chemicals, and feed

   id No
   □ Yes




51 Any farm- and commercial fishing-related property you did not already list
        no

   G    Yes, Give specific
        information


52 Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
   for Part 6. Write that number here




                Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
   Examples' Season tickets, country club membership
   2l No
   □ Yes Give specific                                                                                                               S.
        information.............                                                                                                     S.

                                                                                                                                      S.



54 Add the dollar value of all of your entries from Part ?, Write that number here                                                                   0.00



Part 8:         List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2        ...........   ...                                                               ^   *         3,750,000,00

56 Part 2: Total vehicles, line 5                                                           0.00

57 Part 3: Total personal and household items, line 15                        s             o.oo

58 Part 4: Total financial assets, line 36                                    S      534,000.00

59 Part 5: Total business-related property, line 45                           s             o.oo

6D Part 6: Total farm- and fishing-related property, line 52                  •             0.00


61. Part 7: Total other property not listed, line 54                                         0.00


62 Total personal property. Add lines 56 through 61.............              $_____________ Copy personal property total   +$                      0,00




63 Total of all property on Schedule A/B. Add line 55 + line 62,                                                                 s          4,593,000.00



 Official Form 1Q6A/B                                            Schedule A/B: Property                                                         page 10
                                         Case 17-12560-BLS                          Doc 4587-4                Filed 02/11/21               Page 16 of 31
                                                   Case 20-10213                    Doc 1-2            Filed 01/07/20                Page 1 of 2

   Fill in this information to identify your case:
^b^^btcr 1
                        9 Jewels LLC

    Debtor 2             __________________________________________
    (SdoUSS, if filing) First Natro                     Middle Name


    United States Bankruptcy Court for the District of Maryland


    Case number
    fit known)                                                                                                                                               □ Check if this is an
                                                                                                                                                               amended filing


    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the Additional Page, fill It out, number the entries, and attach it to this form. On the top of any
    additional pages, write your name and case number (If known).

   1. Do any creditors have claims secured by your property?
          Li     No, Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          33f    Yes. Fill in all of the information below,


   Part 1:           List All Secured Claims
                                                                                                                                     Column A         Column B               Column C
   2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                            Value of collateral     Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not fletjUCt the                       that supports this      portion
      As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.                      claim                  if any

 cm Chondrite Asset Trust                                         Describe the property that secures the claim:                      s 1,522,000.00     2,100,000.00,                0.00
          CfsditQi s Name
                                                                 325 5th Avenue Apartment 11C
          79-37 Myrtle Avenue
          Number            Street                               New York New York 10016
                                                                  As of the date you file, the claim is:     Check all that apply,
                                                                  LI Contingent
          Glendale                          NY     11385          BT Unliquidated
          City                             Stale   ZIP Code       M Disputed

     Who owes the debt?               Check one,                  Nature of lien.   Check all that apply.

      SST   Debtor 1 only                                         m An agreement you made (such as mortgage or secured
      LI    Debtor 2 only                                           car loan}
      □ Debtor 1 and Debtor 2 only                                D    Statutory lien (such as tax lien, mechanic's lien)
      □ At least one of the debtors and another                   D Judgment lien from a lawsuit
                                                                  Q Other (including a right to offset)_________________
     □ Check if this claim relates to a
            community debt
     Date debt was incurred 1 2/01,2016                           Last 4 digits of account number__________
   2.2|
          IRM Realty Plaza LLC                                    Describe the property that secures the claim:                      $ 1.500,000.00 $ 1,650,000.00;
          Creditor's Name
                                                                 306-310 N. Howard Street
          68-60 Austn Street Suite 113
          Number            Street
                                                                 Baltimore Maryland 21201
                                                                  As of the date you file, the claim is:     Check all that apply.
                                                                  O    Contingent
           Forest Hills                     NY     11375          LIUnliquidated
          City                             State   ZIP Code       Q Disputed

     Who owes the debt?               Check one.                  Nature of lien.   Check all that apply.

      LI     Debtor    1 only                                     □ An agreement you made (such as mortgage or secured
      D Debtor 2 only                                                  car loan)
      L)Debtor 1 and Debtor 2 only                                LI   Statutory lien (such as tax lien, mechanic's lien)
      D At least one of the debtors and another                   D Judgment lien from a lawsuit
                                                                  O Other (including a right to offset)______________________
     )□ Check if this claim relates to a
         community debt
      Date debt was incurred 08/17/2017                           Last 4 digits of account number _
          Add the dollar value of your entries in Column A on this page. Write that number here:


    Official Form 10GD                                    Schedule D: Creditors Who Have Claims Secured by Property                                                 page    1 of 1
                                    Case 17-12560-BLS               Doc 4587-4        Filed 02/11/21             Page 17 of 31

                                              Case 20-10213         Doc 1-2        Filed 01/07/20          Page 2 of 2
Debtor 1          9 Jewels LLC_________________                                                 Case number of known)
                    Fsrst! Name      Middle Name       LasJ Mams


  Part 2             List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed In Part 1. For example, If a collection
  agency Is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, If
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here, if you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.
□ _
                                                                                            On which line in Part 1 did you enter the creditor?
       Name                                                                                 Last 4 digits of account number______________


       Number             Street




       City                                                State       ZIP Code


                                                                                            On which line in Part 1 did you enter the creditor?
       Name                                                                                 Last 4 digits of account number______


       Number              Street




                                                           State       ZIP Code



□      _
       Name
                                                                                            On which line in Part 1 did you enter the creditor?
                                                                                            Last 4 digits of account number______________


       Number              Street




           City                                            State       2IP Code


                                                                                            On which line in Part 1 did you enter the creditor?
           Name                                                                             Last 4 digits of account number__ ___________


           Number          Street




           City                                            State       ZIP Code


                                                                                            On which line in Part 1 did you enter the creditor?
           Name                                                                             Last 4 digits of account number


           Number          Street




           City                                             State       ZIP Code


                                                                                            On which line in Part 1 did you enter the creditor?
           Name                                                                             Last 4 digits of account number_


           Number           Street




           City                                             State       ZIP Code




  Official Form 10(JD                              Part 2 of Schedule D. Creditors Who Have Claims Secured by Property                        page 2__ of 2
                                      Case 17-12560-BLS               Doc 4587-4                    Filed 02/11/21              Page 18 of 31

                                          Case 20-10213                Doc 1-3             Filed 01/07/20                Page 1 of 2

 Fill in this information to identify your case:

                      9 Jewels LLC
 Debtor 1
                       First Narr.s            MitfSIa Nflma                 Last Name

 Debtor 2
 (Spouse if filing)    RrstNat                 M dc!e Hama                   Last Name


 United States Bankruptcy Court for Sts:            District of Maryland

 Case number                                                                                                          Check if this is:
 (if known)
                                                                                                                     I I An amended filing
                                                                                                                         A supplement showing post-petition
                                                                                                                         chapter 13 income as of the following date:
Official Form B 61                                                                                                       MM / DD ■' YYYY


Schedule I: Your Income                                                                                                                                            12/13

Be as complete and accurate as possible, if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse Is living with you, include information about your spouse,
if you are separated and your spouse is not filing with you, do not include information about your spouse, if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1               Describe Employment


1. Fill in your employment
   Information.                                                                     Debtor 1                                         Debtor 2 or non-filing spouse

      If you have more than one job,
      attach a separate page with                                             J      l                                              I—I
      information about additional           Employment status                j—j Employed                                          I—I Employed
      employers.                                                               0 Not employed                                           Not employed

      Include part-time, seasonal, or
      self-employed work.
                                             Occupation                       ___________________________________ ___________________
      Occupation may include student
      or homemaker, If it applies.

                                             Employer’s name                  _____________________ ______________                 ________________


                                             Employer's address
                                                                                  Number   Street                                  Number    Street




                                                                                  City               State   ZIP Code              City                 State   ZIP Code

                                             How long employed there?


 Part 2:              Give Details About Monthly Income

      Estimate monthly income as of the date you file this form,              if you have nothing to report for any line, write SO in the space, include your non-filing
      spouse unless you are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
      below. If you need more space, attach a separate sheet to this form.


                                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be,                   2.      „


 3,    Estimate and list monthly overtime pay.                                                       3. +s_________                + s

 4, Calculate gross income. Add line 2 + line 3.                                                             $                         s



Official Form B 6I                                                         Schedule l: Your Income                                                              page   1
                                    Case 17-12560-BLS                                    Doc 4587-4                        Filed 02/11/21               Page 19 of 31

                                                    Case 20-10213                           Doc 1-3                Filed 01/07/20                 Page 2 of 2
Debtor 1           9JewelsLLC___________                                                                                                Case number ui mam)
                     Frist Narrs          Micdl« Nvro




                                                                                                                                    For Debtor 1              For Debtor 2 or
                                                                                                                                                              non-filing spouse

       Copy line 4 here ................................................................................................    4.      S                           S

 5. List all payroll deductions:

        5a. Tax, Medicare, and Social Security deductions                                                                   5a.     s                           S
        5b. Mandatory contributions for retirement plans                                                                    5b.     s                           S
        5c. Voluntary contributions for retirement plans                                                                    5e      s                           S
        5d. Required repayments of retirement fund loans                                                                    5d.     s                           S
        5e. Insurance                                                                                                       5a.     s                           S
        5f. Domestic support obligations                                                                                    5f.     s                           s
        5g. Union dues                                                                                                      5g.     s                           s
        5h. Other deductions. Specify:                                                                                      5h.    +s                         + s
  6.    Add the payroll deductions. Add lines 5a + 5b + 5c                              + 5d + 5e +5f + 5g +5h .             6.     s                           s

  7 Calculate total monthly take-home pay. Subtract line 8 from line 4,                                                      7.     s                           s

  8. List all other income regularly received:
         8a. Net income from rental property and from operating a business,
               profession, or farm
               Attach a statement for each property and business showing gross
               receipts, ordinary and necessary business expenses, and the total
                                                                                                                                    S.                          S.
               monthly net income.                                                                                          8a.
         8b. Interest and dividends                                                                                         8b,     S                           S
         8c. Family support payments that you, a non-filing spouse, or a dependent
               regularly receive
               Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                    S.                          S.
               settlement, and property settlement.                                                                          8c.

         8d. Unemployment compensation                                                                                       3d.    S.                           s

          8e. Social Security                                                                                                8e.    S.                           s
          8f. Other government assistance that you regularly receive
               Include cash assistance and the value (If known) of any non-cash assistance
               that you receive, such as food stamps (benefits under the Supplemental                                               S                            s
               Nutrition Assistance Program) or housing subsidies.
               Specify:_________________________________________________________________                                     8f.

          8g. Pension or retirement Income                                                                                   Sg     S.                           S

          8h. Other monthly income. Specify:                                                                                 8h. +s_______0.00                 +s

                                                                                                                                    s            0.00
  9. Add all other Income. Add lines 8a + 8b + 8c + 8d + 8e + 81 +8g + Bh.                                                    9,                                 s
 1C. Calculate monthly income. Add line                         7 + line 9.
        Add the entries In line 10 for Debtor 1 and Debtor 2 or non-filing spouse,                                            10
                                                                                                                                    S            0.00    +       s                  =   s

  11 State all other regular contributions to the expenses that you list In Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.

         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

         Specify:______________________________________________________________________________________________________                                                           11, + S.

  12, Add the amount in the last column of line 10 to the amount In line 11. The result Is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                             12.
                                                                                                                                                                                                      0.00
                                                                                                                                                                                        Combined
                                                                                                                                                                                        monthly income




 Official Form B 6l                                                                           Schedule I: Your Income                                                                        page 2
                                Case 17-12560-BLS                     Doc 4587-4             Filed 02/11/21                  Page 20 of 31

B 6F (Official Form 6F) (12 07)           Case 20-10213               Doc 1-4         Filed 01/07/20             Page 1 of 2
1 n re 9 Jewles LLC                                                                                      Case No.
                                       Debtor                                                                                                         (if known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of ail entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and
address of the child’s parent or guardian, such as         a minor child, by John Doe, guardian," Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled “Codebtor," include the entity cm the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an ■‘If” “W,”           or "C” in the column labeled “Husband, Wife, Joint, or Community."

     If the claim is contingent, place an “X" in the column labeled “Contingent." I f the claim is unliquidated, place an "X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
arid Related Data..

    □ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F
                                                     HUSBAND, WIFE,

                                                      COMMUNITY




       CREDITOR’S NAME,                                                  DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                        UNLIQUIDATED
                                                       JOINT. OR




       MAILING ADDRESS                          cn                        INCURRED AND                          s                                           CLAIM
                                                O




                                                                                                                                           DISPUTED
      INCLUDING ZIP CODE.                       t—                     CONSIDERATION FOR
     AND ACCOUNT NUMBER
                                                be
                                                u:                            CLAIM.                            1
          tSee instructions above, t                                  IF CLAIM IS SUBJECT TO                    p
                                                o                                                               z
                                                CJ                       SETOFF, SO STATE.                      c
                                                                                                                u
 ^'COUNT NO.


 Urban Built                                                                                                           X               X                     94,605.00
 4015 Foster Avenue
 Baltimore Maryland
  ACCOUNT NO.

 T. Brooks Inc.                                                                                                        X               X                     64,203.37
 32 West Road #200
 Towson Maryland21204

  ACCOUNT NO.
 AKAM Associates Inc.
 Board of Managers                                                                                                     X                                     38,000.00
 620 8th Ave NY NY 10018

  ACCOUNT NO.




                                                                                                                             Subtotal >•              s     196,808.37

  ____ continuation sheets attached                                                                                         TotalV                    $
                                                                              (Use only on lass page of the completed Schedule F.)
                                                                                                                                                            196,808.37
                                                          (Report also on Summary of Schedules and, if applicable, on (he Statistical
                                                                                Summary of Certain liabilities and Related Data.)
                            Case 17-12560-BLS                            Doc 4587-4          Filed 02/11/21                Page 21 of 31

B 6F (Official Form 6F) (12 07)         Case 20-10213                     Doc 1-4        Filed 01/07/20              Page 2 of 2
In re 9 Jewles LLC____________________________,                                                             Case No._______________________________
                        Debtor                                                                                                  (if known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, ofall entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as         a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed.
R. Bankr. P. !007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X" in the column labeled “Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule 11 - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an "II,” “W,” “Jor “C” in the column labeled “Husband, Wife, Join!, or Community.”

     11'the claim is contingent, place an "X”in the column labeled "Contingent." ff the claim is unliquidated, place an X“ in the column labeled “Unliquidated."
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an "X" in more than one of these three columns.)

   Report the total of all claims listed on this schedule in the box labeled "Total” on the last sheet of the completed schedule. Report this total also on the
Summary* of Schedules and, if the debtor is ati individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data,.

     □   Check this box if debtor has no creditors holding unsecured claims to report on tins Schedule F
                                                         ,
                                                        HUSBAND. Wil l

                                                         COMMUNITY




       CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                  AMOUNT OF
                                                          JOINT, OR
                                             CODEBTOR




        MAILING ADDRESS                                                        INCURRED AND                         z                 /***\
                                                                                                                                                CLAIM
                                                                                                                            <
      INCLUDING ZIP CODE,                                                   CONSIDERATION FOR                      o        Ot
     AND ACCOUNT NUMBER                                                            Cl AIM.                          z
          ■Sec instructions above.)                                        IF CLAIM IS SUBJECT TO                           Cr
                                                                                                                    5                 z7\
                                                                              SETOFF. SO STATE.                     o       z
                                                                                                                                      o
                                                                                                                   6


  ACCOUNT NO.


  Urban Built                                                                                                              X        X             94,605.00
  4015 Foster Avenue
  Baltimore Maryland
   ACCOUNT NO.


  T. Brooks Inc.                                                                                                           X        X             64,203.37
  32 West Road #200
  Towson Maryland21204
   ACCOUNT NO.

  AKAM Associates Inc.
  Board of Managers                                                                                                        X                       38,000.00
  Ron Qfh Awa      mv mv      inniQ



   ACCOUNT NO.




                                                                                                                               Subtotal >•    s   196,808.37
         continuation sheets attached                                                                                          Total>         S
                                                                                   (Use only on last page of the completed Schedule F.)
                                                              (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                  196,808.37
                                                                                      Summary of Certain Liabilities and Related Data.)
                           Case 17-12560-BLS                       Doc 4587-4               Filed 02/11/21                Page 22 of 31
                                    Case 20-10213                   Doc 1-5          Filed 01/07/20               Page 1 of 4
B6E (Official Form 6E) (04/13)


           In re 9 Jewels LLC                                                                                   Case No.
                                 Debtor                                                                                               (ifknown)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the data of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
       a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C, §112 and Fed. R. Bankr. P. 1007(tn).

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
 entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
 both of them, or the marital community may be liable on each claim by placing an "H." "W," "J," or "C" in the column labeled "Husband, Wife,
 Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
 the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
 than one of these three columns.)

     Report the total of claims listed on each sheet in the box labeled "Subtotals” on each sheet. Report the total of ail claims listed on this Schedule
 E in the box’ labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals" on the last sheet of the completed schedule Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

      Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
  jhiounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
'with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

      Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                 (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)


 I | Domestic Support Obligations

     Claims for domestic support that arc owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
 responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
 II U.S.C. § 507(a)(1).

 I | Extensions of credit in an involuntary case

   Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
 appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

 CH Wages, salaries, and commissions

   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
 independent sales representatives up to S12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
 cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
 EH Contributions to employee benefit plans

   Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, ot* the
 cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


     Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced an or after the date ofadjustment
                         Case 17-12560-BLS                 Doc 4587-4             Filed 02/11/21            Page 23 of 31

                                     Case 20-10213            Doc 1-5        Filed 01/07/20            Page 2 of 4
B6E (Official Form f>E) (04/13) - Coni



  ln rc 9 Jewels LLC                                                             Case No,
                              Debtor                                                                (ifknown)




1_I Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in ! 1 U.S.C. § 507(a)(6).



EH Deposits by individuals
  Claims of individuals up to S2.775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 1! U.S.C, § 507(a)(7),


EH Taxes and Certain Other Debts Owed to Governmental Units
  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


EH Commitments to Maintain the Capital of an Insured Depository Institution
  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision. Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


□ Claims for Death or Personal Injury While Debtor Was Intoxicated
  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
ding, or another substance. 11 U.S.C. § 507(a)(!0).




* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                                 continuation sheets attached
                           Case 17-12560-BLS                  Doc 4587-4             Filed 02/11/21             Page 24 of 31

                                    Case 20-10213             Doc 1-5          Filed 01/07/20            Page 3 of 4
BftE (Official Form 6H) (04/1 5)


                   9 Jewels LLC                                                                          Case No.
                                   Debtor                                                                                    (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority'.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as
"A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. Sec. 11 U.S.C. §112 and Fed. R. Bankr. FT I007(m),

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X” in the column labeled "Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," ”W," "J," or "C" in the column labeled "Husband, Wife.
Joint, or Community.”        If the claim is contingent, place an "X" in the column labeled "Contingent" If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated.” If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
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primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
  mounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with
V,   primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

0    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

1 YPES OF PRIORI FY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

 ] Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

I | Extensions of credit in an involuntary ease

  Claims arising in the ordinary course of the debtor’s business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

CU Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within ISO days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4),
CH Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or die
cessation of business, whichever occurred first, to the extent provided in ! 1 U.S.C. § 507(a)(5).


    Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date ofadjustment.
                        Case 17-12560-BLS                 Doc 4587-4            Filed 02/11/21            Page 25 of 31

                                     Case 20-10213           Doc 1-5        Filed 01/07/20            Page 4 of 4
B6E (Official Form 6E) (04/1.3) - Cons.


  jn re 9 Jewels LLC                                                             Case No.
                              Debtor                                                                (ifknown)




ED Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided m ! 1 U.S.C'. § 507(a)(6).


ED Deposits by individuals
  Claims of individuals up to S2.775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


  J Taxes and Certain Other Debts Owed to Governmental Units
  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8),


1_I Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC. Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


□ Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)( 10).




* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                                 continuation sheets attached
                                           Case 17-12560-BLS                   Doc 4587-4         Filed 02/11/21             Page 26 of 31

                                               Case 20-10213                   Doc 1-6       Filed 01/07/20           Page 1 of 3

      Fill in this information to identify your case:

     I Debtor 1         9 Jewels LLC
                                                                                                                Check if this is:
      Debtor 2
      {Spouse, if filing)   First   Name           Middle Name
                                                                                                                □ An amended filing
                                                                                                                □ A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the:                    District of
                                                                                                                  expenses as of the following date:
      Case number
                                                                                                                    MIV! / OD/ YYYY
      (If known)




 Official Form 106J
 Schedule J: Your Expenses
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

     Part 1                 Describe Your Household

 1     Is this a joint case?
       0f No. Go to line 2.
       □ Yes, Does Debtor 2 live in a separate household?

                    □ No
                    O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                            no
                                                                                             Dependent’s relationship to              Dependent’s       Does dependent live
       Do not list Debtor 1 and                   □ Yes. Fill out this information for       Debtor 1 or Debtor 2                     ago               with you?
       Debtor 2.                                    each dependent........................
                                                                                                                                                        Ul No
       Do not state the dependents'
                                                                                                                                                        Q Yes
       names.
                                                                                                                                                        Q No
                                                                                                                                                        Q Yes
                                                                                                                                                        □ No
                                                                                                                                                        Q Yes
                                                                                                                                                        □ No
                                                                                                                                                        □ Yes
                                                                                                                                                        □ No
                                                                                                                                      ---------------   □ Yes

3. Do your expenses include                       □ No
   expenses of people other than
   yourself and your dependents?                  □ Yes


 Part 2:             Estimate Your Ongoing Monthly Expenses

     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
     Include expenses paid for with non-cash government assistance if you know the value of
     such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

     4, The rental or home ownership expenses for your residence. Include first mortgage payments and
        any rent for the ground or lot.                                                                                         4.

         If not included in line 4:
         4a«      Real estate taxes                                                                                             4s         S

         4b.      Property, homeowner's, or renter’s insurance                                                                  4b.        S

         4c.      Home maintenance, repair, and upkeep expenses                                                                 4c.        S

         4d       Homeowners association or condominium dues                                                                    4d,        s

Official Form 106J                                                       Schedule J: Your Expenses                                                              page 1
                               Case 17-12560-BLS                Doc 4587-4                 Filed 02/11/21          Page 27 of 31

                                          Case 20-10213           Doc 1-6            Filed 01/07/20           Page 2 of 3

Debtor 1         9   Jewels LLC_________________                                                      Casa number utmami
                 Firs! Nam<s     Mitfcla Name       cast Name




                                                                                                                                       Your expenses


 5 Additional mortgage payments for your residence, such as home equity loans                                              5.

 6, Utilities:
      6a,   Electricity, heat, natural gas                                                                                 6a.        S________________________

      su.   Water, sewer, garbage collection                                                                               6t>.       s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _
      6c,   Telephone, cell phone, Internet, satellite,and cable services                                                  6c         s___________________________

      6d    other. Specify: Condominum Association Fees______________                                                      ed.        5__________ 2,675,00

 7, Food and housekeeping supplies                                                                                         7,         s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _
 8, Childcare and children's education costs                                                                               8          S__________________________

 9    Clothing, laundry, and dry cleaning                                                                                  9,         S________________________

10. Personal care products and services                                                                                    io.        s__________________
11. Medical and dental expenses                                                                                            11,        s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _
12. Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                                          I2.
                                                                                                                                      s............. .. ........... ..
13    Entertainment, clubs, recreation, newspapers, magazines, and books                                                   ia         s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _
U     Charitable contributions and religious donations                                                                     14         $_______ _
15    Insurance.
      Do not include Insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                                   15a.      s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _
      15b Health insurance                                                                                                  15b       s_ _ _ _ _ _ _ _ _ _ _ _ _
      15c. Vehicle insurance                                                                                                15c.      s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _
      ir»d Other Insurance. Specify:________________________________________                                                   i5d,   s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _

16.   Taxes. Do      not include taxes deducted from your pay or included in lines   4   or 20.

      Specify:________________________________________________________________________ 16.


17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                                          17a.   s.
      17b, Car payments for Vehicle 2                                                                                       17b.      s
      17c, Other. Specify:________________________________________________                                                     17c.   s.
      i7d, Other, Specify:________________________________________________                                                     l?d.   s.

18. Your payments of alimony, maintenance, and support that you did‘not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                                           18.   $.


19. Other payments you make to support others who do not live with you.
      Specify:________________________________________________________                                                          19.   s

20. Other real property expenses not Included In lines 4 or 5 of this form or on Schedule I: Your Income.

       20a, Mortgages on other property                                                                                        20a,   $,

       20b, Real estate taxes                                                                                                  20b.   s.
       20c, Property, homeowners, or renter's insurance                                           .                            20c,   5

       20d. Maintenance, repair, and upkeep expenses                                                                           20d.   s.

       20e. Homeowners association or condominium dues                                                                         20e    $


Official Form 100J                                              Schedule J. Your Expenses                                                                       page 2
                               Case 17-12560-BLS                Doc 4587-4             Filed 02/11/21            Page 28 of 31

                                          Case 20-10213          Doc 1-6         Filed 01/07/20             Page 3 of 3

 Debtor 1        9   JSW8IS    LLC______________________________                                Case number »*>««>.
                  Rrsst Name    Middle Name       Last Name



o
21.    Other.   Specify:                                                                                              21.   +S


22,    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                               22a,      $       2,675.00

       22b. Copy line 22 (monthly expenses for Debtor 2), if any. from Official Form 106J-2                       22b.      s           0.00
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.      5       2,675.00



23.   Calculate your monthly net income.
                                                                                                                                S       0.00
      23a.   Copy Sine 12 (your combined monthly income) from Schedule 1.                                         23a

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.      -S      2,675.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                S   -2,675.00
             The result is your monthly not income.                                                               23c




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      0 No.
      □ Yes.         Explain here;




Official Form 106J                                            Schedule J: Your Expenses                                                  page 3
                                  Case 17-12560-BLS              Doc 4587-4          Filed 02/11/21             Page 29 of 31

                                       Case 20-10213              Doc 1-7        Filed 01/07/20           Page 1 of 1

 Fill in this information to identify your case:

 Debtor            9 Jewels LLC
                    Firs? Name              Mirfflift Naros         Las? Naina

 Debtor 2
 (Spouse If filing} Firs? Name              Miadifl Narr.a          Las? Name

 United States Bankruptcy Court for the: District of Maryland

 Case number
                                                                                 □
 {If known)                                                                                                                           □ Check if this is an
                                                                                                                                        amended filing


Official Form 106G
Schedule G; Executory Contracts and Unexpired Leases                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      Q Wt>. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      □T Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease Is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts       and
      unexpired leases.




      Person or company with whom you have the contract or lease                             State what the contract or lease is for


2-1 Akam Associates Inc                                                               Condominum Association Fees
       Name
       620 8th Avenue
       Number           Street
       New York                        NY            10018
       City                             State        ZIP Code




       Name


       Number           Street


       City                             Slate        ZIP Code



       Name


       Number           Street


       City                              State       ZIP Code



       Name


       Number            Street


       City                              State        ZIP Code




       Number            Street


       City                              State        ZIP Code



 Official Form 106G                              Schedule G: Executory Contracts and Unexpired Leases                                        page 1 of 1_
            Case 17-12560-BLS          Doc 4587-4       Filed 02/11/21      Page 30 of 31

                   Case 20-10213       Doc 1-8     Filed 01/07/20     Page 1 of 1




                           CORPORATE RESOLUTION OF 9 JEWELS, LLC


       On January 3, 2020, after a review of the finances of 9 Jewels, LLC, and the pendency of

certain litigation, a vote was held in lieu of a meeting for the filing of a Chapter 11 Bankruptcy


Petition in the United States Bankruptcy Court for the District of Maryland. Jean M.

Agbodjogbe shall be authorized to complete and execute any and all such documents as may be

necessary to file and complete the filing of the Chapter 11 Bankruptcy Petition. Jeran M.

Agbodjogbe and/or such other authorized representative designated by the corporation shall

be authorized to appear at the meeting of creditors and at any other meetings or hearings and


take any actions necessary and appropriate in connection with the bankruptcy case.

               BE IT RESOLVED THAT 9 JEWELS, LLC is hereby authorized to file a Chapter 11

Bankruptcy Petition in the United States Bankruptcy Court for the District of Maryland.




                                                      Its President
Case 17-12560-BLS   Doc 4587-4   Filed 02/11/21   Page 31 of 31
